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                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    October 19, 2020

VIA ECF                                                                    MEMO ENDORSED
The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    United States v. Brian Madden, 09 Cr. 799 (SHS)

Dear Judge Stein:

        The Government respectfully requests that the Court order that the restitution obligation
owed to GNYT Member LLC (“GNYT”) pursuant to the Amended Restitution Order (Dkt. No.
61) be deemed satisfied, and that the Clerk of the Court be directed to remove GNYT from any
future distributions of restitution in this matter, with all other victims’ shares increased
accordingly on a pro rata basis. In connection with the bankruptcy proceedings of the defendant
and his wife, GNYT entered into a Stipulation and Order (attached hereto as Exhibit A), in which
GNYT agreed to withdraw its claim to restitution in this matter, in exchange for the receipt of
various funds held in escrow and the waiver of other parties’ claims to those funds. Stipulation
and Order ¶ 5. Accordingly, GNYT’s entitlement to restitution has been fully satisfied.

                                            Respectfully,

                                            AUDREY STRAUSS
                                            Acting United States Attorney


                                         by: /s Alexander Wilson
                                             Alexander J. Wilson
                                             Assistant United States Attorney
    Request granted.                         (212) 637-2453

    Dated: New York, New York
           November 2, 2020
